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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

                                     CASE NO. 8:22-cv-01220

STEVEN BEDIENT, individually and
on behalf of all others similarly situated,

         Plaintiff,

v.

PERMANENT GENERAL INSURANCE
COMPANIES, INC. d/b/a
THE GENERAL INSURANCE

      Defendant.
______________________________________/

               DEFENDANT’S UNOPPOSED MOTION FOR ENLARGEMENT
                      OF TIME TO RESPOND TO COMPLAINT

         Defendant PERMANENT GENERAL INSURANCE COMPANIES, INC. d/b/a THE

GENERAL INSURANCE (“Defendant” or “The General”), by and through its undersigned

counsel, moves for a brief enlargement of time of 21 additional days, through and including June

23, 2022 to respond to the Class Action Complaint (the “Complaint”; ECF No. 1) filed by Plaintiff

Steven Bedient (“Plaintiff”), and states as follows:

         1.      On April 27, 2022, Plaintiff filed his Complaint against Defendant in the Circuit

Court of the Thirteenth Judicial Circuit in and for Hillsborough County, Florida, asserting one

cause of action for an alleged violation of the Telephone Consumer Protection Act, 47 U.S.C. §

227 et seq. (the “TCPA”), a federal statute, and a second cause of action for an alleged violation

of the Florida Telephone Solicitation Act, Section 501.059, Florida Statutes (the “FTSA”).

         2.      On May 6, 2022, Defendant was served with process.

         3.      On May 26, 2022, Defendant removed this action to this Court. [ECF No. 1].



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         4.    Defendant recently retained the undersigned to investigate the facts alleged in

Plaintiff’s Complaint and to defend this action.

         5.    Pursuant to Rule 81(c)(2), Fed. R. Civ. P., Defendant’s response to the Complaint

is due within seven (7) days from the date of removal – to wit, June 2, 2022.

         6.    Defendant is in need of additional time to respond to the Complaint because (i) the

undersigned has not yet had a chance to investigate the factual underpinnings of this case and fully

develop defenses to the causes of action alleged, and (ii) the undersigned is scheduled for a five

(5) day trial in Miami-Dade County on a two-week trial docket commencing June 6, 2022 and

running through June 17, 2022.

         7.    Plaintiff will not be prejudiced by the requested extension.

         8.    This is Defendant’s first request for an extension.

         9.    Plaintiff’s counsel has agreed to the requested extension.

         WHEREFORE, Defendant respectfully requests that the Court enter an Order extending

the deadline for Defendant to respond to Plaintiff’s Complaint by 21 additional days, through and

including June 23, 2022 and granting Defendant such further and additional relief as this Court

deems just and proper.

Dated: May 26, 2022.                          Respectfully submitted,

                                              /s/ Jeffrey B. Pertnoy
                                              Jeffrey B. Pertnoy, Esq.
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                                              Three Brickell City Centre
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                                              Phone: (305) 374-5600
                                              Fax: (305) 374-5095

                                              Counsel for Defendant


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                                CERTIFICATE OF SERVICE

         I hereby certify that on May 26, 2022, a true and correct copy of Defendant’s Notice of

Removal was served via e-mail upon Plaintiff’s counsel of record in the State Court Action:

         Andrew Shamis, Esq. Ashamis@shamisgentile.com
         Garrett Berg, Esq. gberg@shamisgentile.com
         Scott Edelsberg, Esq. scott@edelsberglaw.com
         Christopher Gold, Esq. chris@edelsberglaw.com

                                             /s/ Jeffrey B. Pertnoy
                                             Attorney




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